                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         VICTORIA DIVISION


STATE OF TEXAS; STATE OF
LOUISIANA,                                 Civ. Action No. ___________


      Plaintiffs,

v.

The UNITED STATES OF AMERICA;
ALEJANDRO MAYORKAS, Secretary
of the United States Department of
Homeland Security, in his official
capacity; UNITED STATES
DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior
Official Performing the Duties of the
Commissioner of U.S. Customs and
Border Protection, in his official
capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE
JOHNSON, Acting Director of U.S.
Immigration and Customs
Enforcement, in his official capacity;
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT; TRACY RENAUD,
Senior Official Performing the Duties of
the Director of the U.S. Citizenship and
Immigration Services, in her official
capacity; U.S. CITIZENSHIP AND
IMMIGRATION SERVICES,

      Defendants.



                                 COMPLAINT
      1.     The Biden Administration is refusing to take custody of criminal aliens

despite federal statutes requiring it to do so. Instead, Defendants have issued and

implemented unlawful agency memoranda that allow criminal aliens already

convicted of felony offenses to roam free in the United States. Such aliens belong in

federal custody, as Congress required.

      2.     When the Texas Department of Criminal Justice (“TDCJ”) incarcerates

an alien already convicted of a felony criminal offense, it informs U.S. Immigration

and Customs Enforcement (“ICE”). If, pursuant to federal law, the alien should be

removed from the United States when his sentence expires, ICE can send TDCJ a

detainer request. Upon receiving such a request, TDCJ will hold an alien instead of

releasing him into the community.

      3.     But since the inauguration, the Biden Administration has rescinded

dozens of detainer requests previously issued to TDCJ, and ICE has declined to take

custody of dangerous criminal aliens that it had previously sought.

      4.     In Louisiana, an alien convicted of a felony criminal offense may be held

in a State prison operated by the Louisiana Department of Public Safety and

Corrections (“LDPSC”) or may be held pursuant to an agreement with the State in a

local Parish prison. Upon receiving an ICE detainer request, the LDPSC or the local

Sheriff will hold an alien pending retrieval by ICE instead of releasing him into the

community. The Federal Government also operates federal detention facilities in

Louisiana, where federal detainees are held pending removal and thereafter

deported. ICE also has a Field Office in New Orleans, Louisiana, where decisions are




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made and policies are implemented resulting in the failure to remove illegal aliens

subject to mandatory removal. Upon information and belief, ICE is not removing

individuals subject to mandatory deportation, causing individuals in facilities in

Louisiana to be released in local communities in Louisiana.

          5.      That is indicative of a broader shift in federal policy that began on the

first day of the Biden Administration and has resulted in a “crisis on the border.” 1

The detainer releases themselves are directly attributable to “interim guidance”

issued by the United States Department of Homeland Security (“DHS”) (the “January

20 Memorandum”) and ICE (the “February 18 Memorandum”) in memoranda issued

earlier this year. As a result of those memoranda, ICE is now failing to issue detainer

requests for other dangerous criminal aliens in Texas.

          6.      Federal law requires Defendants to take custody of many criminal

aliens, including those with final orders of removal, those convicted of drug offenses,

and those convicted of crimes of moral turpitude. By refusing to take these criminal

aliens into custody, Defendants have disregarded non-discretionary legal duties.

          7.      Defendants’ actions violate the Immigration and Nationality Act, the

Administrative Procedure Act (“APA”), binding agreements DHS negotiated with the

State of Texas and the State of Louisiana (the “Agreements,” described infra at

III.D.), and the United States Constitution.




1   See e.g., Steven Nelson, Psaki says ‘crisis on the border” after Biden officials rejected term, N.Y. Post
    (March 18, 2021).         https://nypost.com/2021/03/18/psaki-says-crisis-on-the-border-after-biden-
    officials-rejected-term/



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       8.      This Court can and should set aside the agency actions leading

Defendants to violate federal law.

                                      I. PARTIES

       9.      Plaintiff State of Texas is a sovereign State. See Tex. Const. art. I, § 1.

Texas has the authority and responsibility to protect the health, safety, and welfare

of its citizens.

       10.     Plaintiff State of Louisiana is a sovereign State. See La. Const.

Preamble; art. I, § 26. Louisiana has the authority and responsibility to protect the

health, safety, and welfare of its citizens.

       11.     Defendants are officials of the United States government, United States

governmental agencies responsible for the issuance and implementation of the

challenged memorandum, and the United States.

       12.     Defendant the United States of America is sued under 5 U.S.C.

sections 702–703 and 28 U.S.C. section 1346.

       13.     Defendant Alejandro Mayorkas is the Secretary of the United States

Department of Homeland Security. He administers the January 20 Memorandum.

He is sued in his official capacity only.

       14.     Defendant DHS implements the January 20 Memorandum. DHS

oversees Defendants U.S. Citizenship and Immigration Services (“USCIS”), U.S.

Customs and Border Protection (“CBP”), and ICE.




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       15.    Defendant Troy Miller is the Senior Official Performing the Duties of

the Commissioner of CBP. He received the January 20 Memorandum. He is sued in

his official capacity only.

       16.    Defendant Tae Johnson is the Acting Director of ICE. He received the

January 20 Memorandum and issued the February 18 Memorandum. He is sued in

his official capacity only.

       17.    Defendant Tracy Renaud is the Senior Official Performing the Duties of

the Director of USCIS. She received the January 20 Memorandum. She is sued in her

official capacity only.

                          II. JURISDICTION AND VENUE

       18.    The Court has subject matter jurisdiction pursuant to 28 U.S.C.

sections 1331, 1346, 1361 and 5 U.S.C. sections 702–703.

       19.    The Court is authorized to award the requested declaratory and

injunctive relief under 5 U.S.C. section 706, 28 U.S.C. section 1361, and 28 U.S.C.

sections 2201–2202.

       20.    Venue lies in this district pursuant to 28 U.S.C. section 1391 because

the State of Texas is a resident of this judicial district, and a substantial part of the

events or omissions giving rise to Plaintiff’s claims occurred in this District. Venue is

also proper under Section VIII of the Texas Agreement. See Ex. C § VIII.

                              III. FACTUAL BACKGROUND

       A.     The January 20 Memorandum

       21.    On the first day of the Biden Administration, the acting Secretary of

DHS issued a memorandum announcing three changes. See Ex. A (“January 20


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Memorandum”). First, it called for a “Department-wide review of policies and

practices concerning immigration enforcement.” Id. at 2. Second, it established

“interim enforcement priorities.” Id. at 2–3. Third, it “direct[ed] an immediate pause

on removals . . . for 100 days.” Id. at 3.

       22.    The January 20 Memorandum’s interim enforcement priorities “apply

not only to the decision to issue, serve, file, or cancel a Notice to Appear, but also to a

broad range of other [supposedly] discretionary enforcement decisions, including

deciding . . . whom to detain or release.” Id. at 2.

       23.    Under the January 20 Memorandum, DHS lists its interim enforcement

priorities as follows:

              1. National security. Individuals who have engaged in
                 or are suspected of terrorism or espionage, or whose
                 apprehension, arrest and/or custody is otherwise
                 necessary to protect the national security of the United
                 States.

              2. Border security. Individuals apprehended at the
                 border or ports of entry while attempting to unlawfully
                 enter the United States on or after November 1, 2020,
                 or who were not physically present in the United States
                 before November 1, 2020.

              3. Public safety. Individuals incarcerated within federal,
                 state, and local prisons and jails released on or after the
                 issuance of this memorandum who have been convicted
                 of an “aggravated felony,” as that term is defined in
                 section 101(a) (43) of the Immigration and Nationality
                 Act at the time of conviction, and are determined to pose
                 a threat to public safety.

Id. at 3.




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        24.   The January 20 Memorandum does not prioritize detention of criminal

aliens with final orders of removal, criminal aliens convicted of drug offenses, or

criminal aliens convicted of crimes of moral turpitude.

        25.   The January 20 Memorandum was issued without notice and comment

under the APA.

        26.   The January 20 Memorandum did not consider any of the significant

harms that Texas and Louisiana face as a result of DHS failing to detain criminal

aliens subject to removal.

        B.    The February 18 Memorandum

        27.   On February 18, 2021, ICE issued a memorandum providing “interim

guidance” on the interim enforcement priorities from the January 20 Memorandum.

See Ex. B (the “February 18 Memorandum”).

        28.   The February 18 Memorandum provides that it “shall be applied to all

civil immigration enforcement and removal decisions,” including “whether to issue a

detainer,” “whether to assume custody of a noncitizen subject to a previously issued

detainer,” and “whether to detain or release from custody subject to conditions.” Id.

at 3.

        29.   The   February    18   Memorandum        amended     the   January    20

Memorandum’s interim enforcement priorities in part, but it did not prioritize

detention of criminal aliens with final orders of removal, criminal aliens convicted of

drug offenses, or criminal aliens convicted of crimes of moral turpitude. Id. at 1–2.

        30.   On its face, the February 18 Memorandum establishes a two-tier

system. First, it establishes three “priority categories”: National Security, Border


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Security, and Public Safety. Id. at 4–5. Aliens in those categories are “presumed” to

be proper subjects of enforcement action.

       31.   Second, aliens outside the “priority categories” are “presumed” not to be

proper subjects of enforcement action. Id. at 3.       According to the February 18

Memorandum, “[a] civil enforcement or removal action that does not meet the above

criteria for presumed priority cases will require preapproval” from supervisors. Id. at

5. Thus, honoring any existing detainer or imposing a new one on a “non-priority”

alien requires preapproval from the Field Office Director or Special Agent in Charge.

Id. at 6.

       32.   The February 18 Memorandum was issued without notice and comment

under the APA.

       33.   The February 18 Memorandum did not consider nor address any of the

significant harms that Texas and Louisiana face as a result of ICE failing to detain

removable illegal aliens.

       C.    The Application of the Two Memoranda

       34.   These two memoranda, as subsequently applied by DHS, have led

federal immigration authorities to rescind detainer requests relating to incarcerated

criminal aliens, to not issue detainer requests even for individuals subject to

mandatory removal, and to release individuals from federal detention facilities such

as those located in Louisiana and Texas. As a consequence, dangerous criminal aliens

are being released into local communities.

       35.   Contrary to 8 U.S.C. § 1226(c), Defendants are refusing to take custody

of aliens convicted of serious crimes. Congress specifically requires detention of aliens


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who commit drug offenses or crimes of moral turpitude. But despite that requirement,

Defendants have rescinded detainer requests for aliens convicted of those offenses.

As a result, many convicted criminal aliens have been released to society after their

sentences, contrary to Congress’s mandate that they be detained pending their

removal from the United States. Of course, the States of Texas and Louisiana must

do what they can to protect their citizens, so some of these criminal aliens have

remained in state custody at the State’s expense.

       36.     The February 18 Memorandum justifies the prioritization of aliens who

have committed “aggravated felonies” as “track[ing] Congress’s prioritization of

aggravated felonies for immigration enforcement actions.” Ex. B at 4 n.6.

       37.     Congress did prioritize aggravated felonies: it mandated detention of

aliens who have committed such crimes. Section 1226(c) provides that “[t]he Attorney

General shall take into custody any alien who . . . is deportable by reason of having

committed any offense covered in section 1227(a)(2) . . . (A)(iii).” 8 U.S.C.

§ 1226(c)(1)(B). And Section 1227(a)(2)(A)(iii) covers “[a]ny alien who is convicted of

an aggravated felony at any time after admission.”

       38.     But “Congress’s prioritization” for detention is not limited to aggravated

felonies.    It similarly mandated detention for aliens convicted of many other

categories of crimes. The very reason the February 18 Memorandum provides for

prioritizing aggravated felonies also supports prioritizing drug offenses and crimes of

moral turpitude. But without explanation, ICE excluded both of those categories from

its list of priorities.




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       39.    Section 1226(c)(1) refers to 8 USC § 1182(a)(2), which covers “any alien

convicted of . . . a violation of (or a conspiracy or attempt to violate) any law or

regulation of a State, the United States, or a foreign country relating to a controlled

substance.” Id. § 1182(a)(2)(A)(i)(II); see also id. § 1226(c)(1)(B) (citing id.

§ 1227(a)(2)(B)).

       40.    Despite this, Defendants have refused to take custody of numerous

dangerous drug offenders. In the wake of the January 20 Memorandum and the

February 18 Memorandum, ICE has rescinded detainer requests for dozens of

criminal aliens in TDCJ custody. Many of them were convicted of drug offenses

ranging      from    possession     of    various     controlled     substances      (cocaine,

methamphetamines, marijuana) to manufacture and delivery of them. Defendants

are not simply ignoring low-level drug offenses related to personal use: at least four

of the convictions for marijuana possession involved at least fifty pounds of the drug.

       41.    Section 1226(c) also requires Defendants to detain aliens convicted of

crimes of moral turpitude. Section 1226(c)(1) refers to 8 USC § 1182(a)(2), which

covers “any alien convicted of . . . a crime involving moral turpitude (other than a

purely political offense).” Id. § 1182(a)(2)(A)(i)(I); see also id. § 1226(c)(1)(B) (citing id.

§ 1227(a)(2)(A)).

       42.    Crimes involving moral turpitude include evading arrest with a vehicle,

failing to stop and render aid after being involved in an automobile accident, theft,

and crimes in which fraud is an ingredient. But Defendants—despite the clear




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requirements of Section 1226(c)(1)—have refused to take custody of many aliens

convicted of these crimes.

        43.   Under   the    January   20    Memorandum    and    the   February   18

Memorandum, Defendants are also refusing to take aliens with final orders of

removal into custody. By releasing detainer requests (or simply never issuing them)

for aliens with final orders of removal, Defendants are violating a non-discretionary

duty.

        44.   Instead, Section 1231(a)(2) provides that Defendants “shall detain”

aliens “[d]uring the removal period.” 8 U.S.C. § 1231(a)(2). For aliens in criminal

custody with final orders of removal that have not been stayed by a court, the removal

period beings on “the date the alien is released from detention or confinement.” 8

U.S.C. § 1231(a)(1)(B).

        45.   Thus, Defendants are obligated to detain aliens with final orders of

removal when they are released from custody. But instead of detaining criminal

aliens with final orders of removal, Defendants have rescinded detainer requests for

at least six such aliens in custody of the TDCJ since the February 18 Memorandum.

        46.   Defendants’ violation of Section 1231(a)(2) establishes a substantive

violation of the APA. See 5 U.S.C. § 706(2)(A), (C).

        47.   ICE did not notify Texas or Louisiana that it was considering such

changes, nor did it consult with Texas or Louisiana about such changes. ICE did not

follow the procedures outlined in the Agreement with either State.




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          D.    The Agreements

          48.   Cooperation and coordination between federal and state officials are

essential to the effective enforcement of federal immigration law.

          49.   To promote such cooperation and coordination, Texas and DHS entered

into a mutually beneficial agreement, as did Louisiana and DHS. See Ex. C (the

“Texas Agreement”); Ex. D (the “Louisiana Agreement”). The Texas Agreement

establishes a binding and enforceable commitment between DHS and Texas. Ex. C

§ II. The Louisiana Agreement establishes a binding and enforceable commitment

between DHS and Louisiana. Ex. D § II.

          50.   The Agreements also apply to several constituent agencies within DHS:

ICE, CBP, and USCIS. Id. at 1 & n.1.

          51.   Generally, the Texas Agreement provides that “Texas will provide

information and assistance to help DHS perform its border security, legal

immigration, immigration enforcement, and national security missions in exchange

for DHS’s commitment to consult Texas and consider its views before taking” certain

administrative actions. Ex. C § II.

          52.   The Louisiana Agreement contains virtually identical language. See Ex.

D § II.

          53.   For example, DHS must “[c]onsult with Texas before taking any action

or making any decision that could reduce immigration enforcement” or “increase the

number of removable or inadmissible aliens in the United States.” Ex. C § III.A.2.

That “includes policies, practices, or procedures which have as their purpose or

effect . . . “decreasing the number of or criteria for detention of removable or


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inadmissible aliens from the country.” Ex. C § III.A.2.d; see also Ex. D § III.A.2.d.

(same consultation requirement as to Louisiana).

      54.    To enable this consultation process, the Agreement requires DHS to

“[p]rovide Texas with 180 days’ written notice … of any proposed action” subject to

the consultation requirement. Ex. C § III.A.3. That gives Texas “an opportunity to

consult and comment on the proposed action.” Id. After Texas submits its views, “DHS

will in good faith consider Texas’s input and provide a detailed written explanation

of the reasoning behind any decision to reject Texas’s input before taking any action”

covered by the consultation requirement. Id.

      55.    Louisiana is likewise entitled to the same notice. See Ex. D § III.A.3.

      56.    Defendants did not provide Texas or Louisiana with notice of either the

January 20 Memorandum or the February 18 Memorandum.

      57.    Defendants did not consult with Texas or Louisiana about either the

January 20 Memorandum or the February 18 Memorandum.

      58.    Neither the January       20 Memorandum        nor the February           18

Memorandum considered the existence of, or the requirements of, the Agreements.

      59.    The Texas Agreement authorizes adjudication of disputes about the

Agreement “in a United States District Court located in Texas.” Ex. C § VIII.

      60.    The Louisiana Agreement authorizes adjudication of disputes judicially

if a resolution cannot be reached through “consultation and communication.” Ex. D

§ VIII. Defendants, however, have breached the Louisiana Agreement by failing to

comply with its plain terms of notice and consultation, rendering any further




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requirement of consultation and communication futile. Moreover, Defendants’

conduct regarding the Texas Agreement also shows Defendants’ refusal to consult

and renders any further communication and attempt to resolve the matter amicably

a vain and useless act that would only delay resolution and cause Louisiana further

irreparable harm.

      61.    To the extent DHS fails to comply with its obligations, the Agreements

expressly provide for injunctive relief. It would “be impossible to measure in money

the damage that would be suffered if the parties fail[ed] to comply with” the

Agreement. Ex. C § VI; Ex. D § VI. “[I]n the event of any such failure, an aggrieved

party [would] be irreparably damaged and [would] not have an adequate remedy at

law.” Id. “Any such party shall, therefore, be entitled (in addition to any other remedy

to which it may be entitled in law or in equity) to injunctive relief, including specific

performance, to enforce such obligations, and if any action should be brought in equity

to enforce any of the provisions of this Agreement, none of the parties hereto shall

raise the defense that there is an adequate remedy at law.” Id.

      62.    The Agreements provide mechanisms by which they can be modified or

terminated. See Ex. C §§ XIV–XV; Ex. D §§ XIV–XV. DHS purported to terminate

the Texas Agreement “effective immediately” by letter on February 2, 2021, but it did

not provide the requisite 180 days’ notice required for termination under the terms

of the Agreement. Texas therefore treats DHS’s letter as notice of intent to terminate,

which will become effective after 180 days (i.e., on August 1, 2021). The Texas

Agreement remains binding until then. To the best of its knowledge, Louisiana has




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not received a similar termination letter; however, even if DHS sent one then, the

Louisiana Agreement would remain binding until the requisite notice provisions

provided therein are satisfied.

       E.     Defendants’ Actions Cause Texas Irreparable Injury

       63.    Defendants’ failure to detain criminal aliens as required by federal law

significantly injures Texas.

       64.    Texas spends hundreds of millions of dollars per year providing services

to illegal aliens. Those services include education services and healthcare, as well as

many other social services broadly available in Texas.

       65.    By increasing the number of illegal aliens present in Texas, or in the

care of TDCJ, the January 20 Memorandum and the February 18 Memorandum will

necessarily increase these costs in multiple ways.

              1.     State Detention

       66.    Detaining criminal aliens imposes significant costs on Texas. These

costs include the financial cost of detention and the use of scarce state resources.

       67.    In 2019, Texas housed almost 9,000 undocumented criminal aliens. Texas’s

cost to do so was over 152 million dollars.

       68.    Those detention costs will increase as a result of Defendants’ failure to

detain criminal aliens as it increases the number of criminal aliens that Texas must

detain.

       69.    Further, the sudden nature of the shift in Defendants’ actions and

policies exacerbates the harm to Texas.




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             2.     Release

      70.    In addition, the release of criminal aliens into Texas communities

imposes significant costs on Texas. These costs include the effects of crimes they

commit while free, the cost of investigating and prosecuting those crimes, the costs of

monitoring or supervising criminal aliens, and the costs of social services criminal

aliens utilize when not detained.

      71.    Defendants’ failure to detain criminal aliens increases the number of

criminal aliens that are released into Texas communities.

      72.    The sudden nature of the shift in Defendants’ actions and policies

exacerbates the harm to Texas.

             3.     Healthcare and Education Costs

      73.    The aliens Defendants are failing to detain are eligible for certain

healthcare and educational programs in Texas.

      74.    The State funds multiple healthcare programs that cover illegal aliens.

The provision of these services—utilized by illegal aliens—results in millions of

dollars of expenditures per year. These services include the Emergency Medicaid

program, the Texas Family Violence Program, and the Texas Children’s Health

Insurance Program.

      75.    The Emergency Medicaid program provides health coverage for low-

income children, families, seniors and the disabled. Federal law requires Texas to

include illegal aliens in its Emergency Medicaid program. The program costs the

State tens of millions of dollars annually.




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       76.        Additionally, the Texas Family Violence Program provides emergency

shelter and supportive services to victims and their children in the State of Texas.

Texas spends over a million dollars per year on the Texas Family Violence Program

for services to illegal aliens.

       77.    Finally, the Texas’s Children’s Health Insurance Program offers low-

cost health coverage for children from birth through age 18. Texas spends tens of

millions on CHIP expenditures for Illegal aliens. of dollars each year on coverage for

illegal aliens.

       78.        Further, Texas faces the costs of uncompensated care provided by state

public hospital districts to illegal aliens which results in expenditures of hundreds of

millions of dollars per year.

       79.    Defendants’ failure to detain criminal aliens increases their use of those

programs and therefore increases the cost to the State of Texas.

       80.    Defendants’ failure to detain criminal aliens reduces the likelihood that

any particular criminal alien will be removed and reduces the number of criminal

aliens who will be removed. It therefore causes an increase in the number of criminal

aliens in Texas. A higher number of criminal aliens in Texas increases healthcare

and education costs for the State of Texas.

       81.    Federal law requires Texas to include illegal aliens in some of these

programs.




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      82.    Some of the criminal aliens Defendants are obligated to detain were

lawful aliens but became subject to mandatory detention and removal after

committing certain crimes. Those aliens are eligible for a broader array of programs.

             4.     Education Costs

      83.    The failure of Defendants to follow federal law and detain criminal

aliens also results in additional educational expenditures by the State of Texas.

Aliens and the children of those aliens receive education benefits from the State at

significant taxpayer expense. Defendants’ failure to detain criminal aliens increases

education expenditures by the State of Texas each year for children of those aliens.

      84.    These imminent and irreparable harms have forced Texas to seek relief

in this Court.

      85.    DHS has already acknowledged the effect that its decisions have on

Texas. “Texas, like other States, is directly and concretely affected by changes to DHS

rules and policies that have the effect of easing, relaxing, or limiting immigration

enforcement. Such changes can impact Texas’s law enforcement, housing, education,

employment, commerce, and healthcare needs and budgets.” Ex. C § II.

      86.    Indeed, DHS has specifically admitted that “an increase in releases from

detention” and “relaxation of the standards for granting release from detention”

would “result in concrete injuries to Texas.” Ex. C § II.

      87.    Texas’s interests fall within the zone of interests protected by federal

immigration statutes and the APA. “The pervasiveness of federal regulation does not

diminish the importance of immigration policy to the States,” which “bear[] many of




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the consequences of unlawful immigration.” Arizona v. United States, 567 U.S. 387,

397 (2012).

      F.      Defendants’ Actions Cause Louisiana Irreparable Injury

      88.     Louisiana, like Texas, is harmed in the same manner and with the same

harms outlined above regarding costs of detention, healthcare, and education,

specifically including but not limited to coverage in the Louisiana Children’s Health

Insurance Program (“LaCHIP”). Defendants’ arbitrary and unlawful actions—if not

set aside—will burden Louisiana with expending these and other funds on

aggravated felons and other aliens subject to mandatory removal.

      89.     Moreover, the first duty of any sovereign is protecting its citizens. But

Louisiana and Texas have been placed at the arbitrary and capricious mercy of

federal immigration officials with regard to alien detention and removal. See Arizona

v. United States, 567 U.S. 387 (2012). Louisiana and Texas have an overriding

interest in federal officials executing their mandatory duty to remove criminal aliens.

Compare Massachusetts v. EPA, 549 U.S. 497, 519 (2007) (recognizing that a State is

entitled to “special solicitude” in seeking to enforce statutory provisions that

implicate aspects of sovereignty), with Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458

U.S. 592, 601–02 (1982) (recognizing sovereign interests “in exercise of sovereign

power over individuals” and “the maintenance and recognition of borders” and quasi-

sovereign interest “in the well-being of [the State’s] populace”). That interest will be

critically impaired if Defendants are permitted to continue refusing to remove

criminal aliens, particularly if Defendants can do so without complying with the

Administrative Procedure Act.


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      90.    Louisiana is also faced with a specific harm due to the presence and

imminent release of illegal aliens subject to mandatory removal being from detention

facilities located in Louisiana, including in the Bossier Parish Medium Security

Facility in Plain Dealing; Jackson Parish Correctional Center in Jonesboro; the

LaSalle ICE Processing Center in Jena; the Pine Prairie ICE Processing Center in

Pine Prairie; the Richwood Correctional Center in Monroe; the River Correctional

Center in Ferriday; the South Louisiana ICE Processing Center in Basile; the federal

Oakdale Detention Facility in Oakdale; the Natchitoches Parish Detention Center in

Natchitoches; and the Winn Correctional Center in Winnfield.

      G.     Related Litigation

      91.    On January 22, 2021, the State of Texas challenged the 100-day

moratorium on removals established by Section C of the January 20 Memorandum.

See State of Texas v. United States, No. 6:21-cv-3 (S.D. Tex. Jan. 22, 2021).

      92.    This Court issued a temporary restraining order on January 26, 2021.

See Texas v. United States, No. 6:21-cv-3, 2021 WL 247877 (S.D. Tex. Jan. 26, 2021).

It issued a preliminary injunction on February 23, 2021. See Texas v. United States,

No. 6:21-cv-3, 2021 WL 723856 (S.D. Tex. Feb. 23, 2021). As a result of these orders,

Defendants have been prohibited from implementing the 100-day moratorium on

removals.

      93.    The Court’s rulings from that case, including its reasoning about

standing, reviewability, the meaning of Section 1231, irreparable injury, and

injunctive relief, are highly relevant to this case.




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                                     IV. CLAIMS

                                      COUNT I

   Failure to Take Custody of Inadmissible or Deportable Illegal Aliens
                     in Violation of 8 U.S.C. § 1226(c)

      94.    Plaintiffs incorporate by reference all preceding paragraphs.

      95.    The January 20 Memorandum and the February 18 Memorandum are

agency actions reviewable under the APA. See 5 U.S.C. § 701(a).

      96.    The January 20 Memorandum and the February 18 Memorandum are

unlawful because they violate 8 U.S.C. § 1226. Section 1226(c) provides that

             The Attorney   General       shall    take    into    custody
             any alien who—

                (A) is inadmissible by reason of having committed any
                offense covered in section 1182(a)(2) of this title,

                (B) is deportable by reason of having committed any
                offense covered in section 1227(a)(2)(A)(ii), (A)(iii), (B),
                (C), or (D) of this title,

                (C) is deportable under section 1227(a)(2)(A)(i) of this
                title on the basis of an offense for which the alien has
                been sentence[d] to a term of imprisonment of at least 1
                year, or

                (D) is inadmissible under section 1182(a)(3)(B) of this
                title or deportable under section 1227(a)(4)(B) of this
                title,

             when the alien is released, without regard to whether
             the alien is released on parole, supervised release, or
             probation, and without regard to whether the alien may be
             arrested or imprisoned again for the same offense.

8 U.S.C. § 1226(c)(1).




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      97.    This mandatory duty to take criminal aliens into custody applies to

those completing their sentences for crimes relating to controlled substances, those

involving moral turpitude, and others.

      98.    Section 1226(c) provides the only authorization for release from this

mandatory detention:

             The Attorney General may release an alien described in
             paragraph (1) only if the Attorney General decides
             pursuant to section 3521 of title 18 that release of
             the alien from custody is necessary to provide protection to
             a witness, a potential witness, a person cooperating with
             an investigation into major criminal activity, or an
             immediate family member or close associate of a witness,
             potential witness, or person cooperating with such an
             investigation,   and     the alien satisfies   the Attorney
             General that the alien will not pose a danger to the safety
             of other persons or of property and is likely to appear for
             any scheduled proceeding. A decision relating to such
             release shall take place in accordance with a procedure
             that considers the severity of the offense committed by
             the alien.

8 U.S.C. § 1226(c)(2).

      99.    The January 20 Memorandum and the February 18 Memorandum

unlawfully violate Defendants’ non-discretionary duty to “take into custody any alien”

who is inadmissible or deportable for the reasons contained in Section 1226(c).

      100.   The January 20 Memorandum and the February 18 Memorandum

violate the APA because they are “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law” and “in excess of statutory jurisdiction,

authority, or limitations.” 5 U.S.C. § 706(2)(A), (C).

      101.   Section 1226(c) requires Defendants to take custody of the specified

criminal aliens. By failing to take custody of criminal aliens, Defendants are


                                           22
unlawfully withholding and unreasonably delaying agency action. See 5 U.S.C. §

706(a).

                                      COUNT II

                    Failure to Take Custody of Illegal Aliens
                      Subject to Final Orders of Removal
                       in Violation of 8 U.S.C. § 1231(a)(2)

      102.   Plaintiffs incorporate by reference all preceding paragraphs.

      103.   The January 20 Memorandum and the February 18 Memorandum are

agency actions reviewable under the APA. See 5 U.S.C. § 701(a).

      104.   The January 20 Memorandum and the February 18 Memorandum are

unlawful because they violate the statutory requirement that Defendants “shall

detain” aliens “[d]uring the removal period.” 8 U.S.C. § 1231(a)(2). For aliens in

criminal custody with final orders of removal that have not been stayed by a court,

the removal period begins on “the date the alien is released from detention or

confinement.” 8 U.S.C. § 1231(a)(1)(B).

      105.   Defendants are violating a non-discretionary duty to take aliens with

final orders of removal into custody, by releasing (or never issuing) detainer requests

for aliens with final orders of removal.

      106.   The January 20 Memorandum and the February 18 Memorandum are

precluding the agencies from complying with Section 1231(a)(2). They therefore

violate the APA. They are both “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law” and “in excess of statutory jurisdiction,

authority, or limitations.” 5 U.S.C. § 706(2)(A), (C).




                                           23
       107.   Section 1226(c) requires Defendants to take custody of the specified

criminal aliens. By failing to take custody of criminal aliens, Defendants are

unlawfully withholding and unreasonably delaying agency action. See 5 U.S.C. §

706(a).

                                     COUNT III

                      Arbitrary and Capricious Agency Action

       108.   Plaintiffs incorporate by reference all preceding paragraphs.

       109.   The January 20 Memorandum and the February 18 Memorandum are

agency actions reviewable under the APA. See 5 U.S.C. § 701(a).

       110.   The APA prohibits agency actions that are “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

       111.   The January 20 Memorandum and the February 18 Memorandum do

not represent reasoned decisionmaking.

       112.   DHS has previously recognized the importance of removing illegal aliens

subject to a final order of removal. See, e.g., Ex. C § II. Indeed, it committed to

“enforcing the immigration laws of the United States to prohibit the entry into, and

promote the return or removal from, the United States of inadmissible and removable

aliens.” Id. § III.A.1.a.

       113.   The January 20 Memorandum and the February 18 Memorandum

represent a sharp departure from previous policy on detainers. Because they do not

sufficiently explain that sudden departure, the memoranda are arbitrary and

capricious.




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       114.   DHS and ICE ignored the harms that failing to detain removable aliens

will cause. The memoranda did not analyze those costs. Failing to consider important

costs of a new policy renders that policy arbitrary and capricious. See Michigan v.

EPA, 135 S. Ct. 2699, 2706 (2015) (“[A]gency action is lawful only if it rests ‘on a

consideration of the relevant factors.’ ”).

       115.   The memoranda also failed to analyze the requirements in the

Agreements. They “entirely failed to consider [that] important aspect of the problem.”

Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020)

(quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 51 (1983)).

       116.   The memoranda also failed to consider alternative approaches that

would allow at least some additional detentions to continue. The Supreme Court

recently held that a DHS immigration action was arbitrary and capricious because it

was issued “‘without any consideration whatsoever’ of a [more limited] policy.”

Regents of the Univ. of Cal., 140 S. Ct. at 1912 (quoting State Farm Mut. Auto. Ins.

Co., 463 U.S. at 51).

       117.   Even if there were some way to explain or justify the decisions of DHS

and ICE, it would be irrelevant because the agencies did not provide any such

explanation or justification in either the January 20 Memorandum or the February

18 Memorandum. See SEC v. Chenery Corp., 318 U.S. 80, 87 (1943) (“The grounds

upon which an administrative order must be judged are those upon which the record

discloses that its action was based.”).




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                                     COUNT IV

 Failure to Follow the Requirements of Notice-and-Comment Rulemaking

      118.   Plaintiffs incorporate by reference all preceding paragraphs.

      119.   The January 20 Memorandum and the February 18 Memorandum are

agency actions reviewable under the APA. See 5 U.S.C. § 701(a).

      120.   The January 20 Memorandum and the February 18 Memorandum are

substantive or legislative rules that required notice-and-comment rulemaking under

the APA. See 5 U.S.C. § 553. They are not exempt from the APA’s notice-and-comment

requirements as interpretive rules, general statements of policy, or rules of agency

organization, procedure, or practice. See id. § 553(b)(A).

      121.   Because DHS and ICE failed to use notice-and-comment procedures, the

January 20 Memorandum and the February 18 Memorandum are invalid. See 5

U.S.C. § 706.

                                      COUNT V

    Failure to Provide Notice to and Consult with Texas and Louisiana
                        pursuant to the Agreements

      122.   Plaintiffs incorporate by reference all preceding paragraphs.

      123.   DHS issued the January 20 Memorandum and ICE issued the February

18 Memorandum without following the notice and consultation requirements

contained in the Agreements.

      124.   Because they do not comply with the terms of the Agreements, the

January 20 Memorandum and the February 18 Memorandum are “arbitrary,




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capricious, an abuse of discretion, or otherwise not in accordance with law” and

“without observance of procedure required by law.” 5 U.S.C. § 706(2)(A), (D).

       125.   As a result of the January 20 Memorandum and the February 18

Memorandum, Texas and Louisiana “will be irreparably damaged and will not have

an adequate remedy at law,” and are therefore “entitled . . . to injunctive relief . . . to

enforce [DHS’s] obligations” under the Agreements. Ex. C § VI; Ex. D § VI.

                                       COUNT VI

          Failure to Take Care that the Laws be Faithfully Executed

       126.   Plaintiffs incorporate by reference all preceding paragraphs.

       127.   The Constitution requires the President to “take Care that the Laws be

faithfully executed.” U.S. Const. art. II, § 3.

       128.   This constitutional limitation is binding on agencies and officers

exercising executive power. See U.S. Const. art. II, § 1, cl. 1 (vesting “[t]he executive

Power” in the President).

       129.   The January 20 Memorandum and the February 18 Memorandum are

unconstitutional because they direct executive officials not to enforce federal law.

       130.   Unconstitutional agency action or inaction violates the APA. See 5

U.S.C. § 706.

       131.   This constitutional violation is also actionable independent of the APA.

Federal courts have long exercised the power to enjoin federal officers from violating

the Constitution. See Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320, 327–

28 (2015) (discussing “a long history of judicial review of illegal executive action,

tracing back to England”).


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                      V. DEMAND FOR JUDGMENT

Wherefore, Plaintiffs request that the Court:

   a.    Hold unlawful and set aside Section B (“Interim Civil Enforcement
         Guidelines”) of the January 20 Memorandum and the February 18
         Memorandum;

   b.    Declare that Section B of the January 20 Memorandum and the
         February 18 Memorandum are unlawful;

   c.    Issue preliminary and permanent injunctive relief enjoining Defendants
         from enforcing or implementing Section B of the January 20
         Memorandum and the February 18 Memorandum;

   d.    Compel Defendants to take custody of criminal aliens as required by
         statute;

   e.    Award Texas and Louisiana the costs of this action and reasonable
         attorney’s fees; and

   f.    Award such other and further relief as the Court deems equitable and
         just.




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Date: April 6, 2021                Respectfully submitted.

KEN PAXTON                         /s/Patrick K. Sweeten
Attorney General of Texas          PATRICK K. SWEETEN
                                   Deputy Attorney General for Special Litigation
BRENT WEBSTER                      Attorney-in-Charge
First Assistant Attorney General   Texas Bar No. 00798537
                                   Southern District of Texas Bar No. 1829509
JUDD E. STONE II
Solicitor General                  WILLIAM T. THOMPSON
                                   Deputy Chief, Special Litigation Unit
                                   Texas Bar No. 24088531
                                   Southern District of Texas Bar No. 3053077

                                   RYAN D. WALTERS
                                   Special Counsel, Special Litigation Unit
                                   Texas Bar No. 24105085
                                   Southern District of Texas Bar No. 3369185

                                   OFFICE OF THE ATTORNEY GENERAL
                                   SPECIAL LITIGATION UNIT
                                   P.O. Box 12548 (MC-009)
                                   Austin, Texas 78711-2548
                                   Tel.: (512) 936-1414
                                   Fax: (512) 936-0545
                                   patrick.sweeten@oag.texas.gov
                                   will.thompson@oag.texas.gov
                                   ryan.walters@oag.texas.gov

                                   COUNSEL FOR PLAINTIFF STATE OF TEXAS




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JEFF LANDRY
LOUISIANA ATTORNEY GENERAL

/s/Elizabeth B. Murrill
ELIZABETH B. MURRILL
Solicitor General
JOSEPH S. ST. JOHN
Deputy Solicitor General

LOUISIANA DEPARTMENT OF JUSTICE
1885 N. Third St.
Baton Rouge, LA 70804
(225) 326-6766
murrille@ag.louisiana.gov
stjohnj@ag.louisiana.gov

COUNSEL FOR PLAINTIFF STATE OF LOUISIANA




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